Case 2:19-cr-20026-GAD-EAS ECF No. 138 filed 02/03/20   PageID.1069   Page 1 of 5




                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


 United States of America,

            Plaintiff,                        Criminal No. 19-cr-20026
 v.
                                              Hon. Gershwin A. Drain
 D-3 Phanideep Karnati,

            Defendant.


                   Application for Entry of Amended
                    Preliminary Order of Forfeiture


       The United States of America, by and through its undersigned

 attorneys, applies to this Court for entry of an Amended Preliminary

 Order of Forfeiture in this matter with respect to Defendant Phanideep

 Karnati, and in support of this Application states the following:

       On or about November 30, 2019 the United States and Defendant

 Phanideep Karnati, by and through his attorney, Anjali Prasad, Esq.,

 (collectively, “the Parties”), submitted a Stipulated Preliminary Order

 of Forfeiture providing, among other things, that the Parties agreed to

 Defendant’s forfeiture of the amount of $11,700, which represents the
Case 2:19-cr-20026-GAD-EAS ECF No. 138 filed 02/03/20   PageID.1070   Page 2 of 5




 total amount of proceeds obtained as a result of Defendant’s violation of

 Count One of the Indictment. The forfeiture of funds to the United

 States was to be made in lieu of forfeiture of real property located at

 10808 Symington Circle, Louisville, Kentucky 40241 (“Symington Circle

 Property”), titled in the names of Defendant and his wife, Ramya

 Karnati. The United States had previously identified the Symington

 Circle Property in its Second and Third Forfeiture Bill of Particulars as

 subject to criminal forfeiture in the event of Defendant’s conviction.

 ECF 72, 99.

       Following discussion of the Parties, and with the Government’s

 consent, Defendant sold the Symington Circle Property and, at the time

 the Parties submitted their stipulation, a closing date was anticipated

 in December 2019.

       The Parties stipulated that, in lieu of forfeiture of the Symington

 Circle Property, Defendant shall pay to the United States the amount of

 $11,700 out of the proceeds of the sale, the amount representing the

 total proceeds obtained as a result of Defendant’s violation of Count

 One of the Indictment. The $11,700 payment (“Substitute Proceeds”)


                                      2
Case 2:19-cr-20026-GAD-EAS ECF No. 138 filed 02/03/20   PageID.1071   Page 3 of 5




 was to be in the form of a Cashier’s Check made payable to the “U.S.

 Customs and Border Protection.” Following receipt of the funds,

 the United States would provide a recordable Discharge of the Notice of

 Lis Pendens to Defendant’s attorney or the title agent handling the

 closing of the sale of the Symington Circle Property.

       The Court entered the Stipulated Preliminary Order of Forfeiture

 on December 6, 2019, which forfeits to the United States the $11,700 in

 sale proceeds (“Forfeited Substitute Proceeds”). ECF 126.

       Through a clerical error, the Stipulated Preliminary Order of

 Forfeiture, at Page 7, ¶ 4, incorrectly identifies the agency authorized to

 dispose of the Forfeited Substitute Proceeds as the United States

 Marshals Service, rather than the U.S. Customs and Border Protection.

       Pursuant to Fed. R. Crim. P. 36 the Court may at any time, after

 giving any notice it considers appropriate, correct a clerical error in an

 order.

       Pursuant to Local Rule 7.1, government counsel sent Defendant=s

 attorney, Anjali Prasad, a copy of the proposed Amended Preliminary

 Order of Forfeiture via email and asked if counsel had any objection.


                                      3
Case 2:19-cr-20026-GAD-EAS ECF No. 138 filed 02/03/20   PageID.1072   Page 4 of 5




 Ms. Prasad indicated that she had no objection to the entry of an order

 correcting the above stated clerical error.

       Based upon the foregoing, and the record in this case, the United

 States respectfully requests this Court to enter the proposed Amended

 Preliminary Order of Forfeiture. The Government will submit the

 proposed Amended Preliminary Order of Forfeiture to the Court via

 ECF utilities.

                                    Respectfully submitted,

                                    MATTHEW SCHNEIDER
                                    United States Attorney

                                    s/GJON JUNCAJ
                                    GJON JUNCAJ (P63256)
                                    U.S. Attorneys Office
                                    211 W. Fort Street, Ste. 2001
                                    Detroit, MI 48226
                                    (313) 226-0209
                                    Email: gjon.juncaj@usdoj.gov
 Dated: February 3, 2020




                                      4
Case 2:19-cr-20026-GAD-EAS ECF No. 138 filed 02/03/20   PageID.1073   Page 5 of 5




                       CERTIFICATE OF SERVICE

       I hereby certify that on February 3, 2020, the above pleading was

 electronically filed with the Court via the ECF system, which will send

 notification of such filing to all ECF filers.



                                     s/GJON JUNCAJ
                                     GJON JUNCAJ (P63256)
                                     U.S. Attorneys Office
                                     211 W. Fort Street, Ste. 2001
                                     Detroit, MI 48226
                                     (313) 226-0209
                                     Email: gjon.juncaj@usdoj.gov




                                       5
